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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)

 MATTHEW MCDONALD, and
 MCDHOLINGS, LLC,

                Plaintiffs,

        v.

 EDWARD G. ROBINSON, III, EDWARD
                                                     Civil Action No. 1:18-CV-00697-LMB/TCB
 G. ROBINSON III CONSULTING, LLC,
 CARLA DESILVA MCPHUN, CADEM
 CAPITAL GROUP, CHOICE
 MANAGEMENT, LLC, and CHRISTIAN
 D’ANDRADE,

                Defendants.


        NOTICE OF RELATED BANKRUPTCY CASES AND AUTOMATIC STAY

        COME NOW Plaintiffs Matthew McDonald and McDHoldings, LLC, by and through

 undersigned counsel, to inform the Court that Defendants Carla McPhun (“McPhun”) and

 Christian D’Andrade (“D’Andrade”) filed bankruptcy cases in the United States Bankruptcy

 Courts for the District of Maryland and the Northern District of California, respectively. 1

 Plaintiffs understand that the filing of those bankruptcy cases automatically stays this civil action

 by operation of law. See 11 U.S.C. § 362(a)(1).

        On January 23, 2019, prior to learning of the filing of the bankruptcy petitions, Plaintiffs

 filed a Supplemental Memorandum in Support of Plaintiffs’ Motion for Entry of Default

 Judgments Against D’Andrade and McPhun Defendants (the “Supplemental Memorandum”).



 1
   McPhun filed for bankruptcy under Chapter 13 on January 25, 2019. See In re Desilva-
 McPhun, Case No. 0:19-bk-11019 (D. Md. Jan. 25, 2019). D’Andrade filed for bankruptcy
 under Chapter 7 on January 7, 2019. See In re D’Andrade, Case No. 4:19-bk-40042 (N.D. Cal.
 Jan. 7, 2019).
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 (See Docs. 184, 204.) Plaintiffs intend to move for relief from the automatic stays in both

 bankruptcy cases. Once that relief is granted, Plaintiffs will notify this Court and notice the

 Supplemental Memorandum and related motion for hearing.



 Dated: February 1, 2019                    Respectfully submitted,


                                            /s/ Cathy A. Hinger____________
                                            Cathy A. Hinger (VSB No. 46293)
                                            Lela M. Ames (VSB No. 75932)
                                            Pascal F. Naples (VSB No. 87849)
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                                            Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this the 1st day of February, 2019, a copy of the foregoing
 NOTICE OF RELATED BANKRUPTCY CASES AND AUTOMATIC STAY, was filed
 with the Clerk of Court using the CM/ECF System which will send notification of such filing to
 the following:

 Carla D. McPhun                                     Jack Hanly
 16913 Harbour Town Drive                            Grace L. Hill
 Silver Springs, MD 20905                            Assistant United States Attorneys
 E-mail: carladmcphunlegal@gmail.com                 2100 Jamieson Ave.
                                                     Alexandria, VA 22314
 Pro Se, Individually and for Cadem Capital          grace.hill@usdoj.gov
 Group
                                                     Attorneys for Intervenor


          Via U.S. First-Class Mail on the following:

 Christian D’Andrade
 642 North L Street
 Unit B
 Livermore, CA 94550

 Pro se

 Fanny Zhang Wan
 2703 7th Street #266
 Mail Box 321
 Berkeley, CA 94710

 Counsel for Christian D’Andrade in
 Bankruptcy Case No. 4:19-bk-40042 (N.D. Cal. Jan. 7, 2019)

          Chambers copy via FedEx, for delivery by February 4, 2019, on the following:

 U.S. District Court, Eastern District of Virginia
 Clerk’s Office
 Attn: Hon. Theresa C. Buchanan
 401 Courthouse Square
 Alexandria, VA 22314


                                                        /s/ Cathy A. Hinger
                                                        Cathy A. Hinger
